            Case 4:12-cr-00041-JM Document 259 Filed 10/22/13 Page 1 of 5



                         IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF ARKANSAS
                                   WESTERN DIVISION

UNITED STATES OF AMERICA                                                                    PLAINTIFF

v.                                    No. 4:12CR00041-02 JLH

BOB SAM CASTLEMAN                                                                        DEFENDANT

                                      OPINION AND ORDER

        Bob Sam Castleman and seven co-defendants are charged in a six-count indictment with

offenses related to the manufacture and distribution of methamphetamine. Bob Sam Castleman has

filed a motion to sever the counts in the indictment, arguing that the counts are improperly joined and,

in the alternative, that he will be unfairly prejudiced in a joint trial. For the reasons explained below,

the motion is denied.

        The defendants named in the indictment are Robert Jerrod Castleman, Bob Sam Castleman,1

Rebecca Lucille Spray, Travis Blaine Perkins, Randall Wayne Byrd, Thomas Thorn Watson, Trisha

Louise Mulligan, and Elaine Marie Swann. Count 1 charges that Robert Jerrod, Bob Sam, Spray,

Perkins, and Watson conspired to manufacture methamphetamine from 2008 through February 7,

2012. Count 2 charges that Robert Jerrod, Perkins, Mulligan, and Swann conspired to possess with

intent to distribute and to distribute methamphetamine from 2007 through February 7, 2012. Count 3

charges that Bob Sam conspired with others, who are unnamed, to manage and control his residence

for the purpose of unlawfully manufacturing, storing, distributing, and using methamphetamine from

2008 until February 7, 2012. Count 5 charges that Bob Sam and Spray conspired to possess

materials to manufacture methamphetamine on April 11, 2011. Count 6 charges that Robert Jerrod




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         For the sake of clarity, the Court hereinafter will refer to the two Castlemans by their
respective given names.
           Case 4:12-cr-00041-JM Document 259 Filed 10/22/13 Page 2 of 5



possessed methamphetamine with intent to distribute on July 28, 2011. Bob Sam acknowledges that

Counts 1, 3, and 5 are properly joined, but he contends that Counts 2 and 6 are improperly joined

with Counts 1, 3, and 5.2

       “When a defendant moves for severance, a district court must first determine whether joinder

is proper under Federal Rule of Criminal Procedure 8.” United States v. Ruiz, 412 F.3d 871, 886 (8th

Cir. 2005). “Most courts that have addressed the issue have decided that Rule 8(a) applies only to

single defendants who are challenging the joinder of offenses against them at a single trial, whereas

Rule 8(b) applies to all multiple defendant situations.” United States v. Sw. Bus Sales, Inc., 20 F.3d

1449, 1453 (8th Cir. 1994); see also United States v. Mann, 701 F.3d 274, 289 (8th Cir. 2012).

Rule 8(b) provides:

       The indictment or information may charge 2 or more defendants if they are alleged to
       have participated in the same act or transaction, or in the same series of acts or
       transactions, constituting an offense or offenses. The defendants may be charged in
       one or more counts together or separately. All defendants need not be charged in
       each count.

Fed. R. Crim. P. 8(b). “An indictment must reveal on its face a proper basis for joinder.” United

States v. Wadena, 152 F.3d 831, 848 (8th Cir. 1998). “Generally, the ‘same series of acts or

transactions’ means acts or transactions that are part of a common plan or a common scheme.” Id.

(quoting United States v. Jones, 880 F.3d 55, 61 (8th Cir. 1989)). The Eighth Circuit has held that

joinder is proper when the indictment alleges a series of connected events with the defendants

participating at various points in the continuum. United States v. Liveoak, 377 F.3d 859, 864 (8th Cir.

2004); United States v. Rimmell, 21 F.3d 281, 289 (8th Cir. 1994).



       2
          He also contends that Count 4 is improperly joined. The only defendant in Count 4 is Byrd,
and Byrd has already entered a guilty plea and been sentenced, so Count 4 will not be presented to
the jury at trial.

                                                  2
           Case 4:12-cr-00041-JM Document 259 Filed 10/22/13 Page 3 of 5



        Here, the indictment alleges a series of connected events with each defendant participating

in some manner. As mentioned, the indictment charges three conspiracies: Count 1 charges a

conspiracy involving both Castlemans and others to manufacture methamphetamine; Count 2 charges

a conspiracy involving Robert Jerrod and others to distribute methamphetamine; and Count 3 charges

that Bob Sam conspired with others to manage and control his residence for the purpose of

manufacturing, storing, distributing, and using methamphetamine.              Although the distribution

conspiracy began a year earlier than the other two conspiracies, according to the indictment, all three

conspiracies operated simultaneously for more than four years. Finally, Count 5 charges that Bob

Sam and Spray conspired to possess equipment and materials for the manufacture of

methamphetamine on April 11, 2011, while Count 6 charges that Robert Jerrod possessed

methamphetamine with intent to distribute on July 28, 2011, both of which are within the time frame

of the three conspiracy counts. Thus, the offenses charged in the five counts of the indictment that

will be presented to the jury at trial are part of a series of related events involving the manufacture

and distribution of methamphetamine. According to the indictment, some of the defendants

participated in the manufacturing of methamphetamine, some in the distribution of methamphetamine,

and some participated in both; but they were all involved. Counts 2 and 6 were properly joined with

Counts 1, 3, and 5.

        “Even if joinder is proper under [Rule 8], the court still has discretion to sever under

Rule 14.” Ruiz, 412 F.3d at 886. Under that rule, “[i]f the joinder of offenses or defendants in an

indictment, an information, or a consolidation for trial appears to prejudice a defendant . . . , the court

may order separate trials of counts, sever the defendants’ trials, or provide any other relief that justice

requires.” Fed. R. Crim. P. 14(a). “Generally, ‘persons charged in a conspiracy or jointly indicted on



                                                    3
          Case 4:12-cr-00041-JM Document 259 Filed 10/22/13 Page 4 of 5



similar evidence from the same or related events should be tried together.’” United States v. Lewis,

557 F.3d 601, 609 (8th Cir. 2009) (quoting United States v. Adkins, 842 F.2d 210, 211 (8th Cir.

1988)). “When defendants are properly joined [under Rule 8], there is a strong presumption for their

joint trial, as it gives the jury the best perspective on all of the evidence and therefore increases the

likelihood of a correct outcome.” Id. (internal quotation marks and citations omitted).

        The burden is on the defendant to show that he [would be] clearly prejudiced by the
        joint trial, and “it will be the rare case, if ever, where a district court should sever the
        trial of alleged coconspirators.” [United States v. Frazier, 280 F.3d 835, 844 (8th
        Cir. 2002).] Severance is appropriate “only if there is a serious risk that a joint trial
        would compromise a specific trial right of one of the defendants, or prevent the jury
        from making a reliable judgment about guilt or innocence.” Zafiro v. United States,
        506 U.S. 534, 539, 113 S. Ct. 933, 122 L. Ed. 2d 317 (1993).

United States v. Spotted Elk, 548 F.3d 641, 658 (8th Cir. 2008).

        Bob Sam argues that he will be prejudiced by a joint trial involving Robert Jerrod because of

the family relationship between them. Bob Sam is Robert Jerrod’s father, and Bob Sam argues that

the family relationship could unduly influence a jury to convict him if it believes that Robert Jerrod

committed similar offenses. Bob Sam also argues that Robert Jerrod’s prior convictions would be

admissible impeachment under Rule 609 of the Federal Rules of Evidence if he were to testify or that

the government may offer the convictions as prior bad acts under Rule 404(b) of the Federal Rules

of Evidence. The jury might believe that Bob Sam was a bad father and therefore guilty. All of these

problems can be addressed by means of appropriate instructions.

        Bob Sam has not met his burden of showing prejudice from a joint trial. See United States

v. Billups, 442 F. Supp. 2d 697, 706 (D. Minn. 2006) (denying a defendant’s motion for severance

where the motion was based on purely speculative grounds that a defendant’s right to confront his

accusers might be violated by the admission of recorded statements made by a co-defendant); see



                                                     4
          Case 4:12-cr-00041-JM Document 259 Filed 10/22/13 Page 5 of 5



also See Lewis, 557 F.3d at 610-11 (holding that the district court’s denial of the defendant’s motion

to sever was not plain error where the defendant argued that the jury was unable to compartmentalize

the evidence and that the evidence against him was less damaging than that against his co-defendant);

United States v. Boone, 437 F.3d 829, 838 (8th Cir. 2006) (“Where multiple defendants are tried

together, the risk of undue prejudice is best cured through cautionary instructions to the jury.” (citing

Mickelson, 378 F.3d at 817)); United States v. Mickelson, 378 F.3d 810, 818 (8th Cir. 2004)

(“Severance is not required merely because evidence that is admissible only against some defendants

may be damaging to others.”); United States v. Guerrerio, 670 F. Supp. 1215, 1222 (S.D.N.Y. 1987)

(holding that severance was not warranted where Robert Guerrerio, Jr., was named as a co-

conspirator along with several family members, including Robert Guerrerio, Sr., and where the court

could give limiting instructions to the jury).

                                           CONCLUSION

        The counts in the indictment are properly joined, and Bob Sam has failed to show that he will

be prejudiced by their joinder. Therefore, the motion to sever is DENIED. Document #252.

        IT IS SO ORDERED this 22nd day of October, 2013.



                                                        __________________________________
                                                        J. LEON HOLMES
                                                        UNITED STATES DISTRICT JUDGE




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